                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,                                   CASE NO.: 3:18-cv-00017-NKM-JCH

           Plaintiff

           v.

   ALEXANDER JONES, et al.,                              CONSENT MOTION TO WITHDRAW
                                                         AS   COUNSEL     FOR    MR.
           Defendants                                    STRANAHAN    BY   AARON  J.
                                                         WALKER, ESQ.


          Pursuant to Local Rule 6(i), attorney Aaron J. Walker, counsel for defendant Lee

  Stranahan, hereby moves to withdraw his appearance in this case and in support would respectfully

  show as follows:

          1.      The undersigned Aaron J. Walker previously entered an appearance as counsel for

  defendant Lee Stranahan and this motion only pertains to his representation of Mr. Stranahan.

          2.      Mr. Stranahan and Mr. Walker have mutually agreed to end their attorney-client

  relationship in this matter.

          3.      Mr. Stranahan has stated to Mr. Walker that he intends to retain new counsel and is

  aware of all deadlines in this matter.

          4.      Counsel for the other parties have been consulted and do not oppose this motion.



          WHEREFORE, the undersigned Aaron J. Walker respectfully requests that he be granted

  leave to withdraw as counsel for Lee Stranahan in this matter.




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  Monday, April 22, 2019                         Respectfully submitted,


                                                   s/ Aaron J. Walker
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                                    CERTIFICATE OF SERVICE

          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
  United States District Court for the Western District of Virginia on April 22, 2019. Participants in
  the case who are registered for electronic filing will be served automatically.



                                                   s/ Aaron J. Walker




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